
67 So.3d 427 (2011)
Anthony PHILIPPE, Appellant,
v.
STATE of Florida, Appellee.
No. 4D10-2364.
District Court of Appeal of Florida, Fourth District.
August 10, 2011.
*428 Anthony Philippe, Blountstown, pro se.
No appearance required for appellee.
PER CURIAM.
We affirm the trial court's denial of appellant's Rule 3.800(a) motion. Brooks v. State, 969 So.2d 238 (Fla.2007). Even if the claim of scoresheet error had been raised in a sworn Rule 3.850 motion, the transcript of the sentencing hearing conclusively shows that the trial court would have imposed the same sentence. Brooks, 969 So.2d at 243 n. 8; State v. Anderson, 905 So.2d 111, 112 (Fla.2005).
Affirmed.
WARNER, STEVENSON and TAYLOR, JJ., concur.
